Case 2:05-cv-02288-SHI\/|-dkv Document 11 Filed 08/29/05 Page 1 of 2 Page|D 7

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wESTERN DIsTRIcT oF TENNESSEE 05
wEsTERN DIVISION AuG 29 PH 3=145

 

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LAWRENCE E. GILPIN, W@%§;§E§;&g£r
47 \--: ".'--,“j`,r¢
Plaintiff,
vs. No. 05-2288-Mav

JO ANN B. BARNHART,
COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING EXCESS PAGES

 

Before the court is plaintiff’s August 25, 2005, motion
requesting permission to file a brief in support of motion for
summary judgment and/or remand and motion to allow new evidence
Which is in excess of the Rule 7.2(e) page limitation. For good
cause shown, the motion is granted and plaintiff may file the
brief.

QLJL

day of August, 2005.

Q/)//Wt,¢»-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

So ORDERED this

 

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with Rule 58 and/or 79(3) FF\GP on M )

     

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 11 in
case 2:05-CV-02288 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Lester T. Wener
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Honorable Samuel Mays
US DISTRICT COURT

